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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                           HUNTINGTON DIVISION

SIERRA CLUB and WEST VIRGINIA
HIGHLANDS CONSERVANCY,

     Plaintiffs,

     v.                                       Civil Action No. 2:10-1199

FOLA COAL COMPANY, LLC,

      Defendant.
_____________________________________

OHIO VALLEY ENVIRONMENTAL
COALITION, WEST VIRGINIA
HIGHLANDS CONSERVANCY and
SIERRA CLUB,

     Plaintiffs,

     v.                                       Civil Action No. 2:13-5006

FOLA COAL COMPANY, LLC,

      Defendant.
___________________________________

OHIO VALLEY ENVIRONMENTAL
COALITION, WEST VIRGINIA
HIGHLANDS CONSERVANCY and
SIERRA CLUB,

     Plaintiffs,

     v.                                       Civil Action No. 2:13-21588
                                              (consolidated with 2:13-16044)

FOLA COAL COMPANY, LLC,

      Defendant.
___________________________________

OHIO VALLEY ENVIRONMENTAL
COALITION, WEST VIRGINIA
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HIGHLANDS CONSERVANCY, WEST
VIRGINIA RIVERS COALITION, and
SIERRA CLUB,

       Plaintiffs,

       v.                                                     Civil Action No. 2:15-1371

FOLA COAL COMPANY, LLC,

      Defendant.
___________________________________

                                     CONSENT DECREE

I. RECITALS

       1.       On October 11, 2010, Sierra Club and West Virginia Highlands Conservancy

filed a complaint for declaratory and injunctive relief and for civil penalties in Civil Action No.

2:10-1199 against defendant Fola Coal Company, LLC (“Fola”) for violations of WV/NPDES

Permit WV1014005 and Surface Mining Control and Reclamation Act (SMCRA) Permit S2009-

95 at Fola’s Surface Mine #3. On February 9, 2012, the Parties entered into a Consent Decree to

resolve the alleged violations of the Clean Water Act and SMCRA. Under that Decree, Fola was

allowed to conduct a habitat restoration project at Boardtree Branch, to attempt to restore the

stream’s biological integrity. Civil Action No. 2:10-1199, ECF Doc. 66 at ¶¶ 30-31. On

December 1, 2015, a Special Master of Biology determined that biological integrity had not been

restored to Boardtree Branch. See 2:10-1199 ECF Doc. 100. As a result, Fola was required to

submit a schedule for completion of a Treatment or Abatement System to an appointed Special

Master of Engineering. Civil Action No. 2:10-1199, ECF Doc. 66 at ¶ 41. Since 2016, Fola has

been working with the Special Master of Engineering to implement an Abatement System,

pursuant to the Decree.

       2.      On March 13, 2013, Ohio Valley Environmental Coalition, West Virginia


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Highlands Conservancy and Sierra Club filed a complaint for declaratory and injunctive relief

and for civil penalties against Fola in Civil Action No. 2:13-5006 for violations of WV/NPDES

Permit WV1014005 and SMCRA Permit S2009-95 at Fola’s Surface Mine #3. Civil Action No.

2:13-5006, ECF Doc. 1. The Court held a trial on liability issues on August 19 through August

22, 2014. See ECF Docs 97 through 101. On January 27, 2015, the Court issued a

Memorandum Opinion and Order finding that Plaintiffs had established that Fola had committed

at least one violation of its permits. See ECF Doc. 123. On October 6, 2015, the Court held a

second trial to hear evidence regarding an appropriate remedy. See ECF Doc. 166. On

December 8, 2015, the Court issued an Order Specifying Relief and appointed a Special Master

to implement measures necessary to reduce conductivity in Stillhouse Branch or achieve

compliance with the water quality standard for biological integrity in that stream. The Court did

not order civil penalties. ECF Doc. 183.1 The Parties have been working with the Special

Master on remedial issues since early 2016.

        3.     On June 27, 2013, the Ohio Valley Environmental Coalition, West Virginia

Highlands Conservancy and Sierra Club filed a complaint for declaratory and injunctive relief

and for civil penalties against Fola in Civil Action No 2:13-16044 for violations of WV/NPDES

Permits WV1018001 and WV1013840 as well as SMCRA Permits S2011-99 and S2012-93 at

Fola’s Surface Mine # 2 and Surface Mine #6. See Civil Action No. 2:13-16044, ECF Doc. 1.

        4.     On August 8, 2013, the Ohio Valley Environmental Coalition, West Virginia

Highlands Conservancy and Sierra Club filed a complaint for declaratory and injunctive relief

and for civil penalties against Fola in Civil Action No. 2:13-21588, for violations of WV/NPDES


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 On January 25, 2016 Fola appealed this Court’s decision to the Fourth Circuit Court of
Appeals. See ECF Doc. 187. After briefing and oral argument on all issues of the appeal, the
Fourth Circuit issued an Opinion and Judgement on January 4, 2017, affirming the district court.
See ECF Docs. 224 and 225.

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Permit WV1013815 and SMCRA Permit S2005-02 at Fola’s Surface Mine #4A. See Civil

Action No. 2:13-21588, ECF Doc. 1. On September 10, 2014, in response to a motion for jury

trial by Fola Cola Company, plaintiffs amended their complaint to drop claims for civil penalties.

See Civil Action No. 2:13-21588, ECF Doc. 39.

          5.   On March 17, 2014, upon motion by the parties, the Court consolidated Civil

Action Nos. 2:13-16044 and 2:13-21588, and designated Civil Action No. 2:13-21588 as the lead

case. Civil Action No. 2:13-21588, ECF Doc. 17. From June 1, 2015 to June 4, 2015, the Court

conducted a bench trial on issues related to liability in the two cases. On August 12, 2015, the

Court held that Fola had committed at least one violation of permits related to Surface Mines # 2

and # 6, but that Plaintiffs had not established liability for violations at Surface Mine 4A. ECF

Doc. 119. On May 9 and 10, 2016, the Court conducted a bench trial to determine an appropriate

remedy. See ECF Docs. 152, 153. On June 7, 2016, the Court appointed a Special Master to

oversee the implementation of a remedy for violations at Surface Mines #2 and #6. ECF Doc.

161. Since his appointment, the Parties have been working with the Special Master on remedial

issues.

          6.   On February 2, 2015, the Ohio Valley Environmental Coalition, West Virginia

Highlands Conservancy, the West Virginia Rivers Coalition, and Sierra Club, filed a complaint

for declaratory and injunctive relief against Fola alleging violations of WV/NPDES Permit

WV1009290 and SMCRA Permit S6019-89 at Fola’s Monoc #2 mine. Civil Action No. 2:15-

1371, ECF Doc. 1. Plaintiffs did not seek civil penalties. See id. On March 14 and 15, 2017, the

Court conducted a trial on issues related to liability. See ECF Docs. 67 and 68. On May 26,

2017, the Court issued a Memorandum Opinion and Order finding that Fola had committed at

least one violation of its permits. ECF Doc. 84. On October 19, 2017, the Court appointed a



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Special Master to oversee the implementation of a remedy for permit violations at the Monoc #2

Mine. Since his appointment, the Parties have been working with the Special Master on

remedial issues.

          7.     This Consent Decree is intended to be a global resolution of Plaintiffs’ claims

against Defendant in Civil Action Nos. 2:10-cv-1199, 2:13-5006, 2:13-21588 (consolidated with

2:13-16044), and 2:15-cv-1371. As described in paragraph 14, nothing in this Decree shall

preclude the continuation of existing Civil Action No. 2:17-3013, so long as Southeastern Land

Co is substituted for Fola as Defendant in that action. . The Decree is designed and intended to

maximize benefits to streams impacted by ionic pollution associated with coal mining in central

Appalachia. Plaintiffs’ academic experts have been involved at all stages in developing the

instant Decree and believe it would provide significant improvements to water (e.g. reduction in

conductivity) and other environmental resources in the Kanawha River watershed (the same

watershed in which the mines that were the object of each of the actions are located.)

          8.     The Parties recognize, and the Court by entering this Decree finds, that the Decree

has been negotiated in good faith by the Parties, will avoid further litigation, and that this Decree

is fair, reasonable, and in the public interest.

          NOW, THEREFORE, with the consent of the Parties, IT IS HEREBY ADJUDGED,

ORDERED, AND DECREED as follows:

    II.        JURISDICTION AND VENUE

          9.     For purposes of this Decree, the Parties agree that this Court has jurisdiction over

the Parties and over the subject matter of these actions pursuant to 28 U.S.C. § 1331 (federal

question jurisdiction), 33 U.S.C. § 1365 (CWA citizen suit provision) and 30 U.S.C. § 1270

(SMCRA citizen suit provision).



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           10.     Venue is proper in the Southern District of West Virginia, pursuant to 28 U.S.C. §

1391(b) and (c), because it is the judicial district in which Fola’s business is located, and/or in

which the violations alleged in each of the complaints in these actions occurred. Moreover,

venue is appropriate pursuant to 33 U.S.C. § 1365(c)(1), because the sources of the alleged CWA

violations are located in this judicial district. Venue is appropriate pursuant to 30 U.S.C. §

1270(c) because the coal mining operations complained of are located in this judicial district.

           11.     For purposes of this Decree, or any action to enforce this Decree, Fola consents to

this Court’s jurisdiction over the claims addressed in the Decree and consents to venue in this

judicial district.

    III.         APPLICABILITY

           12.     The provisions of this Decree apply to and are binding upon Plaintiffs, those with

authority to act on their behalf, including, but not limited to, their officers, directors, and staff;

upon Fola and any of its respective successors and/or assigns; and upon other persons or entities

otherwise bound by the law.

    IV.          DEFINITIONS

           13.     Terms used in this Consent Decree that are defined in the CWA, SMCRA, or

regulations issues pursuant thereto shall have the meaning assigned to them therein, unless

otherwise provided by this Decree. Whenever the terms set for below are used, the following

definitions shall apply:

                   a.     “CWA” shall mean the federal Clean Water Act, 33 U.S.C. §§ 1251 et

seq.;

                   b.     “Day” shall mean a calendar day, unless expressly stated to be a business

day. In computing any period of time, where the last day would fall on a Saturday, Sunday, or



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federal holiday, the period shall run until the close of business the next business day;

               c.      “Decree” or “Consent Decree,” when capitalized, shall mean this

document;

               d.      “Defendant” shall mean Fola Coal Company, LLC;

               e.      “Effective Date” shall mean the date upon which this Consent Decree is

entered by the Court or a motion to enter this Consent Decree is granted, whichever occurs first,

as recorded on the Court’s docket.

               f.      “Experimental Practice Projects” means new or innovative reclamation or

stream mitigation techniques developed or implemented by Appalachian Headwaters, in

consultation with experts, including those in the fields of reclamation of mined areas, forestry,

aquatic habitats, entomology, water chemistry, and stream rehabilitation and enhancement in the

course of carrying out the Reclamation Projects under this Decree.

               g.      “Funds” shall be the payments to Appalachian Headwaters from

Defendant described in paragraph 17;

               h.       “Paragraph” shall mean a portion of this Decree identified by an Arabic

numeral;

               i.      “Parties” shall mean Plaintiffs and Defendant collectively;

               j.      “Permits” shall mean WV/NPDES Permit Nos. WV1014005,

WV1018001, WV1013840, and WV1009290 and SMCRA Permit Nos. S2009-95, S2011-99,

S2012-93, and S6019-89.

               k.      “Plaintiffs” shall mean the Ohio Valley Environmental Coalition, Inc.;

West Virginia Highlands Conservancy, Inc.; the West Virginia Rivers Coalition; and the Sierra

Club.



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                l.     “Reclamation Projects” are reclamation projects meant to enhance or

improve existing mined land reclamation and developed or implemented by Appalachian

Headwaters in the course of carrying out this Decree and further described in Section V.

                m.     “Section” shall mean a portion of this Decree identified by a Roman

numeral;

                n.     “SMCRA” shall mean the Surface Mining Control and Reclamation Act of

1977, 30 U.S.C. §§ 1201, et seq;

                o.     “USEPA” shall mean the United States Environmental Protection Agency;

                p.     “WVDEP” shall mean the West Virginia Department of Environmental

Protection; and,

                q.     “WV/NPDES permit” shall mean a West Virginia/National Pollutant

Discharge Elimination System permit issued by the WVDEP pursuant to Section 402 of the

CWA.

   V.         MINED LAND RECLAMATION PROJECTS

        14.     Plaintiffs shall not file any new lawsuits, or otherwise seek remedies in court from

Defendant, its parent company, Consol Energy, or other subsidiaries of Consol Energy under the

CWA or SMCRA, for violations of permit effluent limits or narrative water quality standards

associated with the discharges of sulfates, TDS, ionic pollution, or elevated conductivity on any

of the Permits listed in this Decree. This paragraph shall not be interpreted to prevent the

continuation of Civil Action No. 2:17-3013 involving Fola Mine 4A, currently pending in the

Southern District of West Virginia, provided that Plaintiffs move and the Court orders that

Southeastern Land Co. be substituted for Fola as the Defendant in that action. Fola agrees to join

that motion.



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       15.     Prior to taking any action to enforce any alleged breach of the prohibitions in

paragraph 14 on the filing of lawsuits or seeking remedies in court, Defendant, Consol Energy,

or any subsidiary of Consol Energy shall provide Plaintiffs written notice of, and a thirty-day

opportunity to cure any such alleged breach. In the event of any such notice, Plaintiffs will

cooperate with Defendant and/or its affiliate to have any such action, objection, opposition, or

other claim for relief withdrawn or dismissed. In no event shall Defendant, Consol Energy, or

any subsidiary of Consol Energy seek money damages for breach of a provision of paragraph 14,

other than legal or other fees associated with defending against any such breach, and only if

Plaintiffs fail to withdraw or dismiss the action alleged to breach the agreement.

       16.     To improve water quality and offset environmental degradation resulting from

Defendant’s CWA and/or SMCRA violations, and other impacts from coal mining, the Parties

agree to pursue Experimental Practice Projects and Reclamation Projects in the region.

       17.     To achieve the above-stated goals, the Parties agree to the following:

               a.      Defendant will pay $3,000,000 to Appalachian Headwaters within 7 days

of the Effective Date of this Consent Decree. Subsequent payments of Funds shall be made by

Defendant to Appalachian Headwaters according to the following schedule: $2,000,000 within 1

year from the Effective Date of this Consent Decree; $3,000,000 within 2 years from the

Effective Date of this Consent Decree; and, $1,000,000 within 3 years from the Effective Date of

this Consent Decree.

               b.      Appalachian Headwaters shall use the Funds paid under this Paragraph for

the following purposes:

                    i. to design Reclamation projects, discussed below;

                    ii. to manage and pay for Reclamation Projects, produce and buy materials



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                       for the projects, and provide general support for the organization,

                  iii. to seek additional funds for water and land reclamation in the Kanawha

                       River watershed,

                  iv. to obtain timber rights in support of Reclamation Projects,

                   v. for environmental education about water and land reclamation in the

                       Kanawha River watershed; and;

                  vi. to pay expert consultants to help design, implement and monitor

                       Reclamation Projects.

The Funds shall not be used to support litigation related to coal mining and/or related activities.

       18.     Plaintiffs have designated Appalachian Headwaters to act on their behalf to

design and implement Reclamation Projects, as defined in this Decree. Each Reclamation

Project shall have a goal of returning streams and the land to a natural and well-functioning

forest ecosystem and reducing conductivity in nearby streams, while simultaneously allowing for

environmentally sustainable recreation and commercial activities.

       19.     Appalachian Headwaters will initially use Funds to restore land in the Kanawha

River watershed identified as the as the “Sharps Knob Project.” The Sharps Knob Project is a

shovel-ready project on land owned by the U.S. Forest Service and identified as a high priority

conservation area within the Kanawha River watershed. The Sharps Knob Project would result

in the restoration of 462 acres, more or less, of formerly surface-mined land to a native forest

ecosystem. The U.S. Forest Service has provided a project proposal for the Sharps Knob Project,

which is included as Exhibit A to this Decree.

       20.     In addition to the Sharps Knob Project, Appalachian Headwaters will work to

identify and pursue additional projects in the watersheds affected by mines in the Decree.



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Priority for the Reclamation Projects shall be as follows, in descending order of priority:

                 a.     Restoration of mined land within the Leatherwood Creek and/or

Twentymile Creek watersheds, which drain into the Kanawha River watershed;

                 b.     Restoration of mined land within the Elk and/or Gauley River watersheds,

which drain into the Kanawha River watershed;

                 c.     Restoration of mined land within the Kanawha River watershed.

Selected projects shall be on sites where land has been left un-reclaimed, or where prior

reclamation resulted in poorly reclaimed grass or shrub land. Each project selection site shall be

assessed according to Reclamation Project goals of restoring native hardwood forest to the site

and to reducing conductivity and other pollutants associated with mine drainage.

   VI.         EFFECT OF BANKRUPTCY

         21.     The undersigned agree that obligations in this Decree are not dischargeable

through bankruptcy, and Defendant agrees not to seek such a discharge and will join Plaintiffs in

efforts to avoid any such discharge.

   VII.        PARENT COMPANY GUARANTY

         22.     The ultimate parent company of the Defendant, currently Consol Energy, Inc.,

shall provide a Parent Company Guaranty, in the form attached hereto as Exhibit B, for the full

amount of Funds due under paragraph 17 and for any other payments or value that remain

outstanding at any given time. The Guaranty shall be effective on the Effective Date of this

Decree, and shall be submitted to Plaintiffs within three (3) days of the Effective Date. The

Parties shall adjust the written amount set forth in the Parent Company Guaranty at least

annually to reflect payments that have been made to satisfy the obligations in paragraph 17. In

the event of a dissolution of the Defendant corporation, all obligations of this Decree shall



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immediately become obligations of its parent corporation, Consol Energy, Inc. In the event of a

merger, stock sale, or other transaction where a new entity becomes the Defendant’s ultimate

parent company, or the parent company of Consol Energy, Inc., Defendant agrees that it shall

cause such new ultimate parent company to provide a parent company guaranty in the same form

as that attached as Exhibit B of this Decree within thirty days of the closing of such merger,

stock sale, or other transaction. If Defendant fails to secure the required parent company

guaranty from the new owner, all obligations then remaining shall be accelerated such that any

remaining Funds due under paragraph 17 shall be paid in full within 30 days of the closing of the

merger, stock sale, or other transaction.

   VIII.       EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS

         23.     This Consent Decree resolves all claims by Plaintiffs against Defendant in Civil

Action Nos. 2:10-1199, 2:13-5006, 2:13-21588 (consolidated with 2:13-16044), and 2:15-1371.

As described in paragraph 14, nothing in this Decree shall preclude the continuation of existing

Civil Action No. 2:17-3013, so long as Southeastern Land Co. is substituted for Fola as

Defendant in that action. Further, Plaintiffs shall comply with the restrictions of paragraph 14 on

the filing of new lawsuits.

         24.     This agreement does not represent an admission of liability by Defendant.

Defendant and its affiliate companies reserve all rights to oppose Plaintiffs’ legal theory in other

cases.

         25.     This Consent Decree shall not be construed to create rights in, or grant any cause

of action to, any third party not party to this Decree.

   IX.         COSTS AND FEES

         26.     The Parties recognize and agree that Defendant has made timely payments of



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costs and attorneys’ fees pursuant to Court orders in Civil Action Nos. 2:13-5006, 2:13-21588

(consolidated with 2:13-16044), and 2:15-1371 and as agreed upon in the original Consent

Decree in Civil Action No. 2:10-1199. The Parties agree that they will not seek to amend,

challenge, or modify the amounts paid under those orders and the original Consent Decree in

2:10-1199. Additionally, Plaintiffs agree not to seek additional costs or attorneys’ fees in any of

the cases encompassed in this Decree, except as specifically set forth in paragraph 27 below.

           27.     Defendant shall pay Plaintiffs’ reasonable fees and costs for work related to the

Special Master’s duties in Civil Action Nos. 2:10-1199, 2:13-5006, 2:13-21588 (consolidated

with 2:13-16044), and 2:15-1371 that have not already been paid. Further, Defendant shall pay

Plaintiffs’ reasonable fees and costs for their work negotiating and drafting this Decree. The

total of fees and costs described in this paragraph shall not exceed $90,000.

      X.         NOTICES

           28.     Unless otherwise specified herein, whenever notifications, submissions, reports,

or communications are required by this Decree, they shall be made in writing and addressed as

follows:

To Plaintiffs:

Mike Becher
Appalachian Mountain Advocates
P.O. Box 11571
Charleston, WV 25339

and

Joe Lovett
Appalachian Mountain Advocates
P.O. Box 507
Lewisburg, WV 24901

To Defendant:



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Matthew Tyree
Senior Counsel
CONSOL Energy Inc.
1000 CONSOL Energy Drive
Suite 100
Canonsburg, PA 15317

and

Shane Harvey
Jackson Kelly PLLC
500 Lee Street E
Suite 1600
Charleston, WV 25301

            29.     Any Party may, by written notice, change its designated notice recipient or notice

address provided above.

            30.     Notices submitted pursuant to this Section shall be deemed submitted upon

mailing, unless otherwise provided in this Decree or by mutual agreement of the Parties, in

writing.

      XI.         RETENTION OF JURISDICTION

            31.     The Court shall retain jurisdiction over these cases until the termination of this

Decree, for the purposes of resolving disputes arising under the Decree or entering orders

modifying this Decree, or effectuating or enforcing compliance with the terms of this Decree.

            32.     Except as explicitly provided herein, Plaintiffs and Defendant reserve all legal and

equitable rights and defenses available to them to enforce or defend the provisions of this

Decree.

      XII.        MODIFICATION

            33.     The terms of this Decree may be modified only by a subsequent written

agreement signed by all Parties. Where the modification constitutes a material change to the



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Decree, it shall be effective only upon approval by the Court.

    XIII. TERMINATION

        34.      The Decree shall terminate when all the Funds required to be paid pursuant to

paragraph 17 have been paid.

    XIV. SIGNATORIES/SERVICE

        35.      Each undersigned representative of Plaintiffs and Defendant certifies that he or

she is fully authorized to enter into the terms and conditions of this Decree and to execute and

legally bind the party or parties he or she represents to this Decree.

        36.      This Decree may be signed in counterparts and its validity shall not be challenged

on that basis.

    XV.       INTEGRATION

        37.      This Decree constitutes the final, complete, and exclusive agreement and

understanding among the Parties with respect to the settlement embodied in this Decree and

supersedes all prior agreements and understandings, whether oral or written concerning the

settlement embodied herein. The Decree specifically supersedes the original Consent Decree

filed in Civil Action No. 2:10-1199, Doc. 66.




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   XVI. FINAL JUDGMENT

       38.     Upon approval and entry of this Decree by the Court, this Decree shall constitute

the final judgment of the Court as to Plaintiffs and Defendants for the claims resolved herein.

The Court finds that there is no just reason for delay and therefore enters this judgement as final

judgment pursuant to Fed. R. Civ. P. 54 and 58.


ENTERED:        June 26               , 2019




ROBERT C. CHAMBERS
UNITED STATES DISTRICT JUDGE


For the Plaintiffs Ohio Valley Environmental Coalition, Inc., West Virginia Highlands
Conservancy, Inc., West Virginia Rivers Coalition, and Sierra Club


/s/ Joe Lovett                                                       Dated: May 3, 2019
JOSEPH M. LOVETT (WV Bar No. 6926)
J. MICHAEL BECHER (WV Bar No. 10588)
Appalachian Mountain Advocates
P.O. Box 507
Lewisburg, WV 24901
304-793-9007

For the Defendant Fola Coal Co., LLC


/s/ M. Shane Harvey                                                  Dated: May 3, 2019
M. SHANE HARVEY (WV Bar No. 6604)
JACKSON KELLY PLLC
1600 Laidley Tower
Post Office Box 553
Charleston, West Virginia 25322
304-340-1006




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                            Exhibit A




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              Sharp Knob Abandoned Mined Land Restoration – Scope of Work

The Sharp’s Knob project area consists of approximately 462 acres of land that were mined for
coal prior to becoming part of the National Forest system. The project area is located
approximately 3.5 miles southwest of Slatyfork, in Pocahontas and Randolph counties at the
headwaters of the Elk and Gauley watersheds. The area was mined prior to the implementation
of the Surface Mining Control and Reclamation Act of 1977 which set environmental standards
that mines must follow while operating, and achieve when reclaiming mined land.

Within the project area, the top of the mountain or the "overburden" was broken up and removed
by blasting in order to reach coal seams. Once the rock surrounding the coal was blasted off, in
what is known in the industry as "shoot and shove," the excess rock and earth was dumped over
the side of the mountain. Many of the remaining soils appear degraded and heavily compacted.
In addition, the mined areas were planted with predominately nonnative trees (especially red
pine), grasses, and forbs. As a result, the areas are now covered with a thick mat of nonnative
grass or a monoculture of red pine and other nonnative conifers. This is a permanent condition
referred to as ‘arrested succession,” Native trees and shrubs are unlikely to recolonized without
intervention. In addition, these areas provide little quality wildlife habitat due to the lack of
vegetation diversity and structural complexity of the even-aged stands. Despite this unnatural
condition, this area is popular to the general public, mountain bikers, and hunters.

Prior to mining activities, this high elevation area was a red spruce-northern hardwood
ecosystem. Red spruce dominated as much as 500,000 acres in West Virginia prior to the
exploitive logging era of the late 19th and early 20th centuries. Today, less than 10 percent
remains in the state. The remarkable red spruce ecosystem is home to over 300 rare plant and
animal species. Because of this exceptionally high biodiversity, red spruce forest and wetland
communities are ranked as having some of the highest global conservation priorities.

The short term goals of the project are to provide early successional habitat (high stem density)
for wildlife species dependent on this type of habitat, remove approximately 462 acres of
nonnative species, and create high quality pollinator habitat. The long term-goal of the project is
to restore the native red spruce-northern hardwood ecosystem within the project area and
improve watershed health.

Compacted ground will be loosened by a large bulldozer which will also break up the nonnative
grasses mats. Soil decompaction is accomplished by pulling one or two, three-foot ripping
shanks, fully immersed into the soil, behind a large bulldozer. The project area will be ripped by
first ripping back and forth across the site on 8’ spacing between rips. The bulldozer operator
then orients the bulldozer perpendicularly to the first lines of rips and rips the entire site back and
forth a second time on 8’ spacing to create a cross-hatch pattern. Cross-ripping loosens soils to
create a better rooting medium for trees, allowing tree roots to extend in multiple directions and
improving sites’ hydrologic characteristics. Some exposed soil will result temporarily after
ripping, which reduces herbaceous competition and allows planted seedlings to establish.
However, the bare soil is often quickly colonized by native plant species, increasing biodiversity
and initiating the natural succession process.
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After cross-ripping, volunteer and professional tree planters will plant a diverse mix of native
tree and shrub seedlings. This mix will be composed of some fast-growing, early successional
trees and shrubs (e.g. aspen, elderberry, hazelnut, et al.) and slower-growing red spruce and
hardwoods. Fast growing trees, especially aspen, will quickly transform this open land to one
that is covered with dense patches of young trees. The locations’ elevations (>4,000 ft.) and their
proximity to existing mature forests and patches of grasses and herbaceous vegetation will
provide the young forest habitat with horizontal and vertical gradients. Wildlife including white-
tailed deer, black bear, ruffed grouse, saw-whet owls, snowshoe hare, and many other species
will flourish in these young forests. Aspen grow quickly, but they don’t live very long (for a
tree). Red spruce and northern hardwoods, much longer-lived species, will eventually
overshadow the aspen and dominate the site. Over the following centuries, these trees will
naturally change the land making it more like it was before mining. This more mature forest will
create conditions suitable for at-risk wildlife like the Northern goshawk and West Virginia
northern flying squirrel who require red spruce habitat. Restoration activities will also help to
reduce sedimentation and revitalize key habitat for native brook trout and other stream
inhabitants.

Vernal wetlands will be constructed within the mined lands using an excavator. Wetland areas
will be created and each could be one pond or a series of small depressions that are
hydrologically connected. Wetland size will generally be in the < 1/10th acre range; however,
size can vary depending upon site conditions. Creation of these wetland types tends to be
“organic” and is dictated by the landscape and other variables encountered once the digging
begins. Indicators of wetness will be used to identify the location for creation and local clay or
low permeability soils will be utilized to prevent seepage. After excavation of the depression is
completed, exposed soils will be seeded with an annual cover crop to prevent erosion or
protected with wood mulch. As ponding/saturation occurs, transplants of native wetland species
will be placed in the wetlands. Vernal ponds are seasonal or temporary wetlands and will
periodically dry up. Vernal pools serve as essential breeding habitat for many species of wildlife,
especially salamanders and frogs.

The entire project area falls into Management Prescription (MP) 4.1- Spruce and Spruce-
Hardwood Ecosystem Management under the 2006 Forest Plan. This Management Prescription
calls for restoration and management of red spruce and spruce-hardwood communities in the
Central Appalachians. The desired conditions for this area as prescribed in the Forest Plan are a
“mosaic of spruce and spruce hardwood communities. Restoration management focuses on
achieving spruce and mixed spruce species composition, as well as developing the multi-age
stand structure that likely existed in this community prior to exploitation.” Among other things,
this prescription emphasize the following:

   •   Active and passive restoration of spruce and spruce-hardwood communities,
   •   Recovery of threatened and endangered species and other species of concern associated
       with spruce and spruce hardwood-communities
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                            Exhibit B




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                                PARENT COMPANY GUARANTY

This GUARANTY (“Guaranty”) is made as of _________, 2019 (the “Effective Date”), by
Consol Energy, Inc., a Delaware corporation (“Guarantor”), in favor of Ohio Valley
Environmental Coalition, West Virginia Highland Conservancy, West Virginia Rivers Coalition
and Sierra Club (“Beneficiaries”) in connection with the Consent Decree, as entered by the United
States District Court for the Southern District of West Virginia (the “Court”) in Civil Actions 2:10-
1199; 2:13-5006; 2:13-21588 (consolidated with 2:13-16044); and 2:15-1371 (the “Order”) and
the funding obligations thereunder of Fola Coal Company, LLC., ( “Counterparty”).

                                                Recitals

WHEREAS, the Guarantor is the ultimate parent company of the Counterparty;

WHEREAS, pursuant to the Section VII of the Consent Decree, Guarantor has agreed to provide
certain credit support to Counterparty;

WHEREAS, the Guarantor, Counterparty, and the Plaintiffs in the underlying Civil Action have
developed this Guaranty to fulfill and satisfy the Order's requirement that sufficient funds be
available to be drawn upon to meet or complete the projects covered by the Order.



                                         Terms and Conditions

NOW THEREFORE, in consideration of the premises and the mutual covenants, hereinafter set forth,
the adequacy of which is hereby acknowledged, the parties hereto hereby agree as follows:

1.      Guaranty. Guarantor does hereby unconditionally, irrevocably and absolutely guarantee
        to Beneficiaries the full payment by Counterparty to Beneficiaries under and pursuant to
        Sections V of the Order (as the same may be amended form time to time) and any related
        orders issued under and in connection with the Order (the “Related Orders”) (referred to herein
        collectively as “Guaranteed Obligations”). Except as specifically set forth in Section 5 hereof,
        the total liability of Guarantor under or in connection with this Guaranty, regardless of any
        amendment, extension, supplement, variation, novation, ratification, replacement or other
        modification to the Order or any other order or act of the applicable court or other legal
        authority from time to time, is limited to the lesser of (a) Nine Million (US $9,000,000.00) in
        cash contributions (inclusive of all taxes, levies, imposts, deductions, charges and withholdings
        assessed, imposed, collected or withheld under any statute and, in each case, all interest, fines,
        penalties, charges, fees or other amounts in respect of them), or (b) the Guaranteed Obligations,
        which Guaranteed Obligations are anticipated to be reduced and/or eliminated during the term
        of this Guaranty as provided for in Paragraph 14 below. Guarantor’s obligations and liability
        under this Guaranty shall be limited to payment obligations only, and Guarantor shall have no
        obligation to perform under the Order or any Related Orders.

2.      Guaranty Absolute. Guarantor guarantees that the Guaranteed Obligations will be paid
        strictly in accordance with the terms of the Order and any Related Orders. The obligations
        of Guarantor under this Guaranty are independent of, but related to, Counterparty’s


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        obligations under the Order and the Beneficiaries may seek enforcement of the Guaranty
        in accordance with Section 7 hereof. The liability of Guarantor under this Guaranty shall
        be irrevocable, absolute and unconditional.

        Notwithstanding any provision to the contrary contained herein, Guarantor’s liability
        hereunder shall be and is specifically limited to payments expressly required to be made in
        accordance with the Order and any Related Orders. In no event shall Guarantor be subject
        hereunder to any consequential, exemplary, equitable, loss profits, punitive, tort or any other
        damages, costs, or attorney's fees; provided however, that Guarantor may be subject to
        Beneficiaries reasonable court costs and associated fees if the Beneficiaries properly issues an
        order for payment under Section 7 hereunder, and Guarantor fails to make such payment.

        This Guaranty shall continue to be effective if a Counterparty merges or consolidates with
        or into another entity, loses its separate legal identity, ceases to exist, becomes insolvent,
        or seeks bankruptcy protection.

        This Guaranty is a continuing guaranty of the payment (and not of collection) by
        Counterparty of its obligations under the Order and any Related Orders. In no event shall
        Guarantor’s liability to Beneficiaries exceed Counterparty’s liability under the Order and
        any Related Orders, notwithstanding the effect of the insolvency, bankruptcy, or
        reorganization of a Counterparty.

        Unless otherwise agreed by Beneficiaries, all payments under this Guaranty shall be made
        in the same currency that the applicable Guaranteed Obligations are denominated (the
        “Currency”) and in immediately available funds (and no obligation or liability of the
        Guarantor under this Guaranty shall be released or discharged by any judgment in a currency
        other than the Currency) unless any judgment or order of the United States District Court for
        the Southern District of West Virginia is given or made for the payment of any amount due
        under this Guaranty in a currency other than the Currency.

3.      Term. This Guaranty shall continue in full force and effect for a period of five (5) years
        commencing on the Effective Date or until the Counterparty has submitted documentation
        demonstrating that the Guaranteed Obligations have been satisfied and there is no further
        need for this Guaranty, whichever occurs first. Notwithstanding the foregoing, the
        Guarantor and Beneficiaries may extend this Guaranty by mutual agreement in writing.
        Upon expiration of this Guaranty all Guaranteed Obligations shall cease, Guarantor shall
        be released from this Guaranty.

4.      Waivers and Acknowledgments. Except as expressly provided herein, Guarantor hereby
        waives presentment, protest, acceleration, dishonor, promptness, diligence, filing of claims
        with a court in the event of insolvency or bankruptcy of Counterparty, notice of acceptance of
        this Guaranty and any other notice with respect to any of the Guaranteed Obligations and this
        Guaranty. Subject to the provisions of Section 3, Guarantor acknowledges that this Guaranty
        is continuing in nature and applies to all Guaranteed Obligations, whether existing now or in
        the future.




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        Except as to applicable statutes of limitation, no delay of Beneficiaries in the exercise of,
        or failure to exercise, any rights hereunder shall operate as a waiver of such rights, a waiver
        of any other rights or a release of Guarantor from any obligations hereunder nor shall any
        single or partial exercise by Beneficiaries of any right, remedy or power hereunder preclude
        any other or future exercise of any right, remedy or power. Each and every right, remedy
        and power hereby granted to Beneficiaries or allowed it by law or other agreement shall be
        cumulative and not exclusive of any other, and may be exercised by Beneficiaries from
        time to time.

5.      Reservation of Defenses. Guarantor agrees that, except as expressly set forth herein, it
        will remain bound upon this Guaranty notwithstanding any defenses which, pursuant to the
        laws of suretyship, would otherwise relieve a guarantor of its obligations under a guaranty.
        Guarantor does reserve the right to assert defenses which Counterparty may have to
        payment of any Guaranteed Obligation (but, for the avoidance of doubt, excluding defenses
        arising from the bankruptcy or insolvency of Counterparty and other defenses expressly
        waived hereby).

6.      Notices. All demands, notices, and other communications provided for hereunder shall,
        unless otherwise specifically provided herein, (a) be in writing addressed to the party
        receiving the notice at the address set forth below or at such other address as may be
        designated by written notice, from time to time, to the other party, and (b) be effective upon
        receipt, when mailed by U.S. mail, registered or certified, return receipt requested, postage
        prepaid, or personally delivered. Notices shall be sent to the following addresses:

        If to Guarantor:        Matthew Tyree
                                Senior Counsel
                                CONSOL Energy Inc.
                                1000 CONSOL Energy Drive
                                Suite 100
                                Canonsburg, PA 15317

                                and

                                Shane Harvey
                                Jackson Kelly PLLC
                                500 Lee Street E
                                Suite 1600
                                Charleston, WV 25301


                                Charleston, WV 25301




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     If to Beneficiaries:            Mike Becher
                                     Appalachian Mountain Advocates
                                     P.O. Box 11571
                                     Charleston, WV 25339

                                     and

                                     Joe Lovett
                                     Appalachian Mountain Advocates
                                     P.O. Box 507
                                     Lewisburg, WV 24901


7.      Demand and Payment. Any demand by Beneficiaries for payment hereunder shall be in
        writing, and shall (a) reference this Guaranty, (b) specifically identify Counterparty and
        Beneficiaries, the Guaranteed Obligations to be paid and the amount of such Guaranteed
        Obligations, and (c) set forth payment instructions. There are no other requirements of notice,
        presentment or demand. Upon receipt of a demand that satisfies these conditions, Guarantor
        shall pay, or cause to be paid, such Guaranteed Obligations within five (5) business days and
        shall not challenge its obligation to satisfy such demand prior to making such payment.

8.      Payments Free and Clear of Taxes. All payments by Guarantor hereunder shall be made
        to the Beneficiaries free and clear of, and without deduction or withholding for, any and
        all present and future taxes, levies, duties or withholdings of any kind or, if any deduction
        or withholding for any such taxes, levies, duties or withholdings from any amount payable
        hereunder is legally required, such amount shall be increased as may be necessary so that
        after making all required deductions and withholdings, the Beneficiaries will receive an
        amount equal to the amount it would have received had no such deductions or withholdings
        been required; provided, however, that in no case shall Guarantor's payments hereunder
        exceed the cap on Guarantor’s total liability hereunder as set forth in Section 1.

9.      Representations and Warranties of Guarantor. Guarantor represents and warrants that:

        (a)         it is a corporation duly organized and validly existing under the laws of Delaware
                    and has the corporate power and authority to execute, deliver and carry out the
                    terms and provisions of this Guaranty;

        (b)         no authorization, approval, consent or order of, or registration or filing with, any court
                    or other governmental body having jurisdiction over Guarantor is required on the part
                    of Guarantor for the execution and delivery of this Guaranty;

        (c)         The undersigned agree that the obligations within this Guaranty are not dischargeable
                    through bankruptcy, and Guarantor agrees not to seek such discharge and will join
                    Beneficiaries in efforts to avoid any such discharge.

        (d)         this Guaranty constitutes a valid and legally binding agreement of Guarantor,
                    except as the enforceability of this Guaranty may be limited by the effect of any


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                    applicable bankruptcy of Guarantor, insolvency, fraudulent conveyance,
                    reorganization, moratorium or similar laws affecting creditors' rights generally,
                    general principles of equity whether considered in a proceeding in equity or at law,
                    and an implied covenant of good faith and fair dealing, except as expressly provided
                    herein.

10.     Miscellaneous.

        (a)         Assignment. Guarantor shall not assign this Guaranty without the express written
                    consent of Beneficiaries and any purported assignment absent such consent is void.

        (b)         Severability. If any provision or portion of a provision of this Guaranty is declared
                    void and/or unenforceable, such provision or portion shall be deemed severed from
                    this Guaranty which shall otherwise remain in full force and effect, with the
                    exception of the amount of Guarantor's liability as provided for in Section 1 above.
                    The parties hereto shall endeavor in good-faith negotiations to replace any invalid,
                    illegal or unenforceable provisions with valid provisions the economic effect of
                    which comes as close as possible to that of the invalid, illegal or unenforceable
                    provisions.

        (c)         Amendments. No amendment of this Guaranty shall be effective unless in writing
                    and signed by Guarantor and Beneficiaries. No waiver of any provision of this
                    Guaranty nor consent to any departure by Guarantor therefrom shall in any event
                    be effective unless such waiver shall be in writing and signed by Beneficiaries. Any
                    such waiver shall be effective only in the specific instance and for the specific
                    purpose for which it was given.

        (d)    Successors and Assigns. This Guaranty shall be binding upon Guarantor, its
        successors and permitted assigns and inure to the benefit of and be enforceable by
        Beneficiaries, its successors, and assigns.

        (e)         Prior Agreements. This Guaranty embodies the entire agreement and understanding
                    between Guarantor and Beneficiaries relating to the subject matter hereof.

        (f)         Headings. The headings in this Guaranty are for purposes of reference only and
                    shall not affect the meaning hereof.

11.     Limitation by Law. All rights, remedies and powers provided in this Guaranty may be
        exercised only to the extent that the exercise thereof does not violate any applicable
        provision of law, and all the provisions of this Guaranty are intended to be subject to all
        applicable mandatory provisions of law that may be controlling and to be limited to the
        extent necessary so that they will not render this Guaranty invalid, unenforceable, in whole
        or in part, or not entitled to be recorded, registered or filed under the provisions of any
        applicable law.

12.     Governing Law. This Guaranty shall in all respects be governed by and construed in
        accordance with the laws of the State of Delaware.



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13.     Consent to Jurisdiction. With respect to the Guaranty and any obligation that the Guarantor
        may have to the Beneficiaries, Guarantor hereby irrevocably submits to the jurisdiction of the
        Huntington Division of the United States District Court for the Southern District of West
        Virginia over any suit, action or proceeding arising out of or relating to the Guaranteed
        Obligations or Guarantor’s obligation to make any payment pursuant to this Guaranty.
        Guarantor hereby irrevocably waives, to the fullest extent permitted or not prohibited by law,
        any objection which it may now or hereafter have to the laying of the venue of any such suit,
        action or proceeding brought in such a court and any claim that any such suit, action or
        proceeding brought in such a court has been brought in an inconvenient forum. The parties
        hereby agree that a final judgment in any such suit, action or proceeding brought in such a
        court, after all appropriate appeals, shall be binding upon it. This consent to jurisdiction shall
        not apply to any dispute regarding the Guaranty between Guarantor and any party other than
        the Beneficiaries.

14.     Amendments to Reflect Annual Reduction in the Guaranteed Obligations. The
        Counterparty and/or Guarantor, as the case may be, may request an amendment to this
        Guaranty on an annual basis to update Paragraph 1, above, to reflect the amount of the
        Guaranteed Obligation remaining after giving effect to payments made through the date of
        the requested amendment. Beneficiaries consent to the amendment may not be unreasonably
        withheld. For the avoidance of doubt, nothing in this paragraph contradicts or supersedes
        Paragraph 1, above, and at no time shall the Guaranteed Obligations exceed the amount of
        cash payments that Counterparty has yet to satisfy, regardless of whether Guarantor has ever
        requested an amendment under this paragraph or whether Beneficiaries has consented to such
        amendment.

                                      [Signature page to follow.]




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        IN WITNESS WHEREOF, Guarantor has caused this Guaranty to be duly executed and
delivered by its duly authorized representative and Beneficiaries have acknowledged receipt of
this Guaranty.

                            Guarantor:     Consol Energy, Inc.

                            Name:________________________________

                            Title:_________________________________

                            Date:_________________________________



                            Beneficiaries: Ohio Valley Environmental Coalition, West
                                          Virginia Highland Conservancy and Sierra Club



                            Name:________________________________

                            Title:_________________________________

                            Date:_________________________________




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